                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                          :

BOY SCOUTS OF AMERICA and                       :
DELAWARE BSA, LLC,
                                                :     Civil Action No. 20-cv-00774 (RGA)
                       Debtors.
                                                :


                APPELLANTS’ RESPONSE TO MOTION OF BOY SCOUTS
              OF AMERICA AND DELAWARE BSA, LLC TO STAY BRIEFING
                   PENDING RESOLUTION OF MOTION TO DISMISS

         In response to the Appellee’s Motion to Stay Briefing Pending Resolution of Motion to

Dismiss (“Motion”) (Dist. Ct. Dkt. 15), Appellants respectfully state as follows:

         1.     Appellants do not oppose the relief requested by Appellee’s that the Court stay

merits briefing in this appeal pending the Court’s decision on Appellee’s Motion to Dismiss

(Dist. Ct. Dkt. 4).

         2.     Appellants dispute the substantive arguments made by Appellees in their Motion,

which simply re-hash arguments already set forth in Appellees’ Motion to Dismiss. For the

reasons set forth in Appellants’ Opposition to the Motion to Dismiss (Dist. Ct. Dkt. 12)

Appellants have standing to bring this appeal and this Court has jurisdiction to hear it.
Dated: July 14, 2020   Respectfully Submitted,


                       By:    /s/ Stamatios Stamoulis
                             Stamatios Stamoulis (#4606)

                       STAMOULIS & WEINBLATT LLC
                       800 N. West Street
                       Third Floor
                       Wilmington, Delaware 19801
                       Telephone: (302) 999-1540
                       Facsimile: (302) 762-1688

                       O’MELVENY & MYERS LLP
                       Jonathan Hacker (pro hac vice)
                       1625 Eye Street, N.W.
                       Washington, D.C. 20006
                       Telephone: (202) 383-5300
                       Facsimile: (202) 383-5414

                       O’MELVENY & MYERS LLP
                       Tancred Schiavoni (pro hac vice)
                       Janine Panchok-Berry (pro hac vice)
                       Times Square Tower
                       7 Times Square
                       New York, New York 10036-6537
                       Telephone: (212) 326-2000
                       Facsimile: (212) 326-2061

                       Counsel for Appellants Century Indemnity
                       Company, as successor to CCI Insurance
                       Company, as successor to Insurance Company of
                       North America and Indemnity Insurance
                       Company of North America, Westchester Fire
                       Insurance Company and Westchester Surplus
                       Lines Insurance Company
